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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
JAGUAR LAND ROVER NORTH               §
AMERICA, LLC                          §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Complaint

against Jaguar Land Rover North America, LLC (“Defendant” or “Jaguar”) for infringement of

United States Patent No. 9,300,723 (the “ ‘723 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with a place of business at 1801

NE 123rd Street, Suite 314, North Miami, FL 33161.

       4.      On information and belief, Defendant is a Delaware limited liability company

with a principal office address of 100 Jaguar Land Rover Way, Mahwah, NJ 07495. On

information and belief, Defendant may be served through its agent, Corporation Service



PLAINTIFF’S COMPLAINT AGAINST DEFENDANT JAGUAR LAND ROVER NORTH
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Company, 251 Little Falls Dr., Wilmington, DE 19808.

        5.      This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in this District, has conducted

business in this District, and/or has engaged in continuous and systematic activities in this

District.

        6.      Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

District.

                                              VENUE

        7.      On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to be a resident of this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to

enforce the ‘723 Patent and sue infringers.

        11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

        12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

        13.     Defendant has infringed and continues to infringe one or more claims, including

at least Claim 12 of the ‘723 Patent by making, using, and/or selling media systems covered by


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one or more claims of the ‘723 Patent. For example, Defendant makes, uses, and/or sells the

Jaguar Incontrol Touch system and any similar products (“Product”). Defendant has infringed

and continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

       14.     Regarding Claim 12, the Product is configured to receive a media file (e.g.,

music file) from a wireless mobile device (e.g., mobile phone) over a communication network

(e.g. Bluetooth network). The wireless mobile device (e.g., mobile phone) sends data (e.g.,

music file) to the media system.      Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.




       15.     The Product includes a wireless receiver (e.g., Bluetooth receiver). Certain

aspects of this element are illustrated in the screenshots below and/or in those provided in

connection with other allegations herein.

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       16.     The Product includes a security measure (e.g., Bluetooth PIN). Certain aspects

of this element are illustrated in the screenshots below and/or those provided in connection

with other allegations herein.




       17.     The Product is disposed in an accessible relation to at least one interactive

computer network (e.g., Bluetooth network) that has a wireless range structured to permit

authorized access (e.g., via pairing code) to said at least one interactive computer network.

Certain aspects of this element are illustrated in the screenshots below and/or those provided in


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connection with other allegations herein.




       18.     When the wireless mobile device is within the wireless range, the wireless

mobile device is detectable by the media system (e.g., the media system automatically detects a

smartphone when the mobile device is within Bluetooth range). Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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       19.     At least one digital media file (e.g., music file) is initially disposed on the

wireless mobile device (e.g., the mobile phone includes one or more music files). Certain

aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




       20.     The media system is structured to detect the wireless mobile device disposed

within the wireless range (e.g., media system automatically detects the mobile phone when it is

within Bluetooth range). Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




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       21.     A communication link (e.g., Bluetooth) is structured to dispose the media

system and the wireless mobile device (e.g. mobile phone) in a communicative relation with

one another via the at least one interactive computer network. Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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          22.   The communication link is initiated by the media system by tapping on “Touch

to connect phone” on the display screen. Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.




          23.   The wireless mobile device and the media system are structured to transmit the

at least one digital media file there between via the communication link (e.g., media system

allows for the transmission of files between itself and the wireless mobile device; e.g., the

mobile device transmits the music file to the media system). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




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       24.     The communication link is structured to bypass the security measure of the

media system for a limited permissible use of the communication link by the wireless mobile

device for only transferring the at least one digital media file to, and displaying the at least one

digital media file on, the media system (e.g., the media system bypasses the security measure

of the Bluetooth network). Certain aspects of this element are illustrated in the screenshots

below and/or those provided in connection with other allegations herein.




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          25.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          26.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          27.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;



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       (b)     Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,300,723 (or, in the

alternative, awarding Plaintiff running royalties from the time of judgment going forward);

       (c)     Award Plaintiff damages resulting from Defendant’s infringement in

accordance with 35 U.S.C. § 284;

       (d)     Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)     Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.




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Dated: February 23, 2020          Respectfully submitted,

                                  /s/ Jimmy Chong
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                             EXHIBIT A
